                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION

 EDITH CARLETTE BOWMAN,                         )
                                                )
                Plaintiff,                      )
                                                )
           v.                                   )      CASE NO. 3:18-CV-656-WKW
                                                )                [WO]
 TED HANCOCK and SID                            )
 LOCKHART,                                      )
                                                )
                Defendants.                     )

                                           ORDER

       On September 6, 2019, the Magistrate Judge filed a well-reasoned

Recommendation to which no timely objections have been filed. (Doc. # 50.) Upon

an independent review of the record and the Recommendation, it is ORDERED as

follows:

       (1)      The Recommendation (Doc. # 50) is ADOPTED;

       (2)      Defendant Sheriff Sid Lockhart’s Partial Motion to Dismiss (Doc. # 38)

is GRANTED;

       (3)      Counts III and IV of the First Amended Complaint against Defendant

Sheriff Sid Lockhart (Doc. # 31) are DISMISSED 1; and




       1
        Plaintiff’s claims in Counts V and VI against Sheriff Lockhart, alleging violations of the
Fourteenth Amendment under 42 U.S.C. § 1983, remain pending.
      (4)      This action is REFERRED back to the Magistrate Judge for further

proceedings.

      DONE this 24th day of September, 2019.

                                                  /s/ W. Keith Watkins
                                            UNITED STATES DISTRICT JUDGE




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